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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al., Case No. 08-13141 (KJC)
Debtors. Jointly Administered
AFFIDAVIT OF SERVICE

I, Pauline Z. Ratkowiak, hereby certify that on May 6, 2010, I caused a copy of the
foregoing Notice of Agenda of Matters Scheduled for Hearing on May 10, 2010 at 11:00

a.m. Before the Honorable Kevin J. Carey to be served on the following persons identified on

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the attached service list in the manner indicated:

Sworn to and subscribed before me
this 6" day of May, 2010

liadha dosh p

Notary Public

SANDRA L. VAN DYK
NOTARY PUBLIC
STATE OF DEI.AWARE

My commission expires July 21, 2012

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Filed 05/06/10

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